 

Case 2:07-cr-20327-AJT-MKM ECF No. 3 filed 10/02/07 PagelD.19 Page 1of 10 {O

 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

 

SOUTHERN DIVISION
UNITED STATES OF AMERICA, Case: 2:07-cr-20327
Assigned To: Roberts, Victoria A
Plaintiff, Referral Judge: Whalen, R. Steven
Filed: 06-28-2007 At 01:41 PM
vs. SEALED MATTER (NH)
D-1 ROY M. BAILEY, VIOLATIONS:
D-2 ANTONIO IVEZAJ, 18 U.S.C. § 201
D-3 TALAL KHALIL CHAHINE, (Public Official Accepting Bribe)
D-4 MOHAMAD ARZOUNI, 18 U.S.C. § 371
D-5 MOHAMMAD BAZZI. (Conspiracy)
18 U.S.C. § 1951
Defendants. (Extortion by Public Official)
18 U.S.C. § 4
(Misprision of Felony)
/
INDICTMENT
THE GRAND JURY CHARGES:

GENERAL ALLEGATIONS

A. INTRODUCTION

1, In or about October of 1987, ROY M. BAILEY was appointed as a Special Agent
with the Immigration and Naturalization Service (“INS”) assigned to the INS district office in
Detroit, Michigan. As an INS Special Agent, ROY M. BAILEY was charged with the
investigation of criminal and administrative violations of the Immigration and Nationality Act of
ihe United States, and related federal criminal offenses.

2. In or about March of 1999, ROY M. BAILEY was appointed as the Supervisory

Deportation Officer for the INS district office in Detroit, Michigan. In or about August of 1999,

 
 

 

 

Case 2:07-cr-20327-AJT-MKM ECF No. 3 filed 10/02/07 PagelD.20 Page 2 of 10

ROY M. BAILEY was appointed as Assistant District Director for the INS district office in
Detroit, Michigan. As the Supervisory Deportation Officer and, thereafter, as the Assistant
District Director, ROY M. BAILEY supervised the custody and transportation of immigration
aliens pending the completion of their deportation proceedings and removal from the United
States.

3. In March of 2003, pursuant to the Homeland Security Act of 2002, the relevant
duties and responsibilities of the Immigration and Naturalization Service were transferred to the
Department of Homeland Security - Immigration and Customs Enforcement (“DHS-ICE”) and
U.S. Citizenship and Immigration Services (“CIS”).

4, In March of 2003, ROY M. BAILEY was appointed as the acting Field Office
Director for Detention and Removal Operations for the DHS-ICE field office in Detroit,
Michigan. As the acting Field Office Director for Detention and Removal Operations, ROY M.
BAILEY supervised the custody and transportation of immigration aliens pending the completion
of their deportation proceedings and removal from the United States.

5. In his capacity as the INS Assistant District Director and Supervisory Deportation
Officer, and thereafter, as the DHS-ICE Field Office Director for Detention and Removal
Operations, ROY M. BAILEY was further responsible for the detention, safety and care of all
immigration detainees held in custody at the INS/DHS-ICE Monroe County Detention Facility
located in Monroe County, Michigan.

6. At all times relevant to this indictment, ANTONIO IVEZAJ, also known as Tony

Ivezaj, was a criminal alien subject to a final Order of Deportation from the United States. In or

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Case 2:07-cr-20327-AJT-MKM ECF No. 3 filed 10/02/07 PagelD.21 Page 3 of 10

about June of 1998, ANTONIO IVEZAJ incorporated the business TMI Construction Company
located in Ferndale, Michigan.

7. At all times relevant to this indictment, TALAL KHALIL CHAHINE was the
owner and operator of the La Shish restaurant chain with multiple locations in and around the
metropolitan area of Detroit, Michigan.

8. At all times relevant to this indictment, MOHAMAD ARZOUNI was an
employee of the La Shish restaurant business.

9. At all times relevant to this indictment, MOHAMMAD BAZZI was a relative of
TALAL KHALIL CHAHINE. At various times between in or about 2001 and in or about 2005,
MOHAMMAD BAZZI was an employee of the La Shish restaurant business.

COUNT ONE
(18 U.S.C. § 201 — Public Official Accepting Bribes)

D-1 ROY M. BAILEY,
D-2 TONY IVEZAJ,

1. The General Allegations are incorporated by reference as if set forth in full herein.

2. Beginning in 1999 and continuing through 2003, in the Eastern District of
Michigan, defendant ROY M. BAILEY, a public official, directly and indirectly did corruptly
demand, seek, receive, accept, and agree to receive and accept things of value, that is, in excess
of $5,000.00 in funds and free residential construction services from and on behalf of ANTONIO
IVEZAJ, in return for and with the intent of being influenced in the performance of an official act

and being influenced to act or omit to do an act, in violation of his official duty, that is, to release
  

 

 

Case 2:07-cr-20327-AJT-MKM ECF No. 3 filed 10/02/07 PagelD.22 Page 4 of 10

ANTONIO IVEZAJ from the custody of the Immigration and Naturalization Service pending
ANTONIO IVEZAJ’s deportation and removal from the United States.
COUNT TWO
(18 U.S.C. §§ 201 and 371- Conspiracy to Commit Bribery)

D-1 ROY M. BAILEY,
D-2 ANTONIO IVEZAJ.

1, The General Allegations are incorporated by reference as if set forth in full herein.

2. Beginning in 2000 and continuing through 2003, in the Eastern District of
Michigan, and elsewhere, ROY M. BAILEY and ANTONIO IVEZAJ, defendants herein, did
conspire and agree with one another and with other persons, both known and unknown to the
Grand Jury, to violate the laws of the United States, to wit, bribery of a public official by
corruptly demanding, seeking, receiving, accepting, and agreeing to receive and accept things of
value in return for and with the intent of being influenced in the performance of one or more

official acts.

OVERT ACTS
3. In executing the conspiracy alleged in Paragraph Two, one or more of the
defendants committed the following acts.

4, In or about July and August of 2003, ANTONIO IVEZAJ demanded, sought,
received and accepted and agreed to accept the sum of $50,000.00 in funds, paid by and on

behalf of an individual herein identified as “Gjon C.” who was then in the custody of the office

 
  

 

Case 2:07-cr-20327-AJT-MKM ECF No. 3 filed 10/02/07 PagelD.23 Page 5 of 10

of Detention and Removal Operations of Immigration and Customs Enforcement, formerly
known as the Immigration and Naturalization Service.

5. In August of 2003, ROY M. BAILEY released and caused to be released Gjon C.
from the custody of the office of Detention and Removal Operations of Immigration and

Customs Enforcement, formerly known as the Immigration and Naturalization Service.

COUNT THREE

(18 U.S.C, § 1951 - Conspiracy to Commit
Extortion by a Public Official)

D-1 ROY M. BAILEY,
D-3 TALAL KHALIL CHAHINE.

1. The General Allegations are incorporated by reference as if set forth in full herein.

2. From in or about 1999 and continuing until or after August of 2003, said dates
being approximate, in the Eastern District of Michigan, and elsewhere, defendants ROY M.
BAILEY and TALAL KHALIL CHAHINE conspired and agreed with one another, and with
other persons, both known and unknown to the grand jury, to obstruct, delay and affect
commerce and the movement of articles and commodities in commerce, by extortion, that is, by
obtaining the property of another, with his consent, under color of official right.

OVERT ACTS
3. In executing the conspiracy alleged in Paragraph Two, one or more of the

defendants did the following overt acts:
   

 

 

Case 2:07-cr-20327-AJT-MKM ECF No. 3 filed 10/02/07 PagelD.24 Page 6 of 10

4, In July of 1999, ROY M. BAILEY traveled to a location in Dearborn, Michigan to
- confront an individual identified herein as “Bahaalzin A,” a citizen of Iraq who had been
admitted to the United States as a permanent resident.

5. In July of 1999, TALAL KHALIL CHAHINE obtained in excess of $10,000.00 in
funds from an individual identified as Bahaalzin A, with the consent of Bahaalzin A.

6. In July of 2003, ROY M. BAILEY traveled to a location in Troy, Michigan to
confront an individual identified herein as “H. Bazzi,” a citizen of Lebanon who had been
admitted to the United States as a permanent resident.

7. In July and August of 2003, TALAL KHALIL CHAHINE obtained funds and real
property valued in excess of $250,000.00 from H. Bazzi and from the family of H. Bazzi, with
the consent of H. Bazzi and with the consent of the family of H. Bazzi.

8. In July of 2003, TALAL KHALIL CHAHINE traveled from the United States to
the country of Lebanon to obtain funds and real property from the family of H. Bazzi, with the
consent of the family of H. Bazzi.

COUNT FOUR

 

(18 U.S.C, § 371 - Conspiracy to Defraud the United States)

D-1 ROY M. BAILEY,

D-3 TALAL KHALIL CHAHINE,
D-4 MOHAMAD ARZOUNI,

D-5 MOHAMMAD BAZZI.

1. The General Allegations are incorporated by reference as if set forth in full herein,

 
 

 

 

Case 2:07-cr-20327-AJT-MKM ECF No. 3 filed 10/02/07 PagelD.25 Page 7 of 10

2. From in or about September of 1999 until in or about June of 2003, said dates
being approximate, in the Eastern Distnict of Michigan, and elsewhere, defendants ROY M.
BAILEY, TALAL KHALIL CHAHINE, MOHAMAD ARZOUNI and MOHAMMAD BAZZI
conspired and agreed with one another, and with other persons, both known and unknown to the
grand jury, to defraud the United States and one or more of its agencies and departments, that 1s,
to hamper, hinder, impede, impair and obstruct by craft, trickery, deceit, and dishonest means,
the lawful and legitimate functions of the Immigration and Naturalization Service and, thereafter,
U.S. Citizenship and Immigration Services, in bestowing immigration benefits under, and
otherwise administering, the Immigration and Nationality Act of the United States.

OVERT ACTS

3, In executing the conspiracy alleged in Paragraph Two, one or more of the
defendants did the following overt acts.

4, Qn or-about September 17, 1999, MOHAMAD ARZOUNI entered into a
fraudulent marriage with an individual herein referred to as “Priscilla T.” solely for the purpose
of evading the immigration laws of the United States.

5, On or about November 3, 2000, MOHAMMAD BAZZI entered into a fraudulent
marriage with an individual herein referred to as “Kathleen A.” solely for the purpose of evading
the immigration laws of the United States.

6.  Onor about January 12, 2000, MOHAMAD ARZOUNI filed an Application to
Register Permanent Residence or Adjust Status, Form 1-485, with the Immigration and

Naturalization Service, based upon the fraudulent mariage with Priscilla T.

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Case 2:07-cr-20327-AJT-MKM ECF No. 3 filed 10/02/07 PagelD.26 Page 8 of 10

7. On or about January 19, 2001, MOHAMMAD BA2ZZ1 filed an Application to
Register Permanent Residence or Adjust Status, Form 1-485, with the Immigration and
Naturalization Service, based upon the fraudulent marriage with Kathleen A.

8. On and before March 19, 2001, ROY M. BAILEY provided false and fraudulent
information to a District Adjudication Officer with the Immigration and Naturalization Service in
Detroit, Michigan in order to cause the approval of the Application to Register Permanent
Residence or Adjust Status, Form 1-485 filed by MOHAMAD ARZOUNI.

9. On or about February 26, 2003, MOHAMAD ARZOUNT filed a Petition to
Remove the Conditions on Residence, Form I-751, with the Immigration and Naturalization
Service based upon the fraudulent marriage with Priscilla T.

COUNT FIVE
(18 U.S.C. § 4- Misprision of Felony)
D-1 ROY M. BAILEY

l. The General Allegations are incorporated by reference as if set forth in full herein.

2. From approximately May of 2000 and continuing through in and after February of
2004, in the Eastern District of Michigan, and elsewhere, defendant ROY M. BAILEY, having
knowledge of the actual commission of a felony cognizable by a court of the United States, that
is, an officer or employce of the United States converting property of another, resulting in the
wrongful theft of more than $300,000.00 in U.S. currency from immigration aliens kept in the
custody of INS and DHS-ICE, in violation of Title 18, United States Code, Section 654, did

conceal the same by false and misleading statements and intimidation, and did not, as soon as

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Case 2:07-cr-20327-AJT-MKM ECF No. 3 filed 10/02/07 PagelD.27 Page 9 of 10

possible, make known the same to some judge or other person in civil or military authority under
the United States.

THIS IS A TRUE BILL.

3/Grand Jury Foreperson
FOREPERSON

STEPHEN J. MURPHY
United States Attorney

s/John C. Engstrom

JOHN C. ENGSTROM

Assistant United States Attorney
Acting Chief, Special Prosecutions Unit

s/Bruce C. Judge
BRUCE C, JUDGE
Assistant United States Attorncy

Dated: June 28, 2007

 
 

Case 2:07-cr-20327-AJT-MKM ECF No. 3 filed 10/02/07 PagelD.28 Page 10 of 10

 

Criminal Case | Case: 2:07-cr-20327

Assigned To: Roberts, Victoria A
Referral Judge: Whalen, R. Steven —

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HOPE: It is the responsibility of the Assistant U.S. Attorney signing this form to: SEALED MATTER (NH)

United States District Court
Eastern District of Michigan _

 

      
      
   

    

   
  

 
    

 

 

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‘Companion Gase Information | companion Case Number:_05-80642

This may be a companion case based upon LGrR 57.10 (b)(4)": Judge Assigned: Hon. Julian Abele Cook
XX Yes No AUSA's Initials: bc?

 

 

 

 

 

UNITED STATES v. D-1 ROY M, BAILEY
D-2__ANTONIO IVEZAJ
D-3_TALALKHALIL CHAHINE
D-4_ MOHAMAD ARZOUNI
D-5 MOHAMMAD BAZZI

County where offense occurred :__Wayne County

 

XXX Felony Misdemeanor Potty
a Indictment ~ no prior complaint.
O Information based upon prior complaint [Case number: j
Oo Indictment Information based upon LCrR 57.10 (d) [Complete Superseding section belaw].

 

Superseding to Case No: Judge:

 

Criginal case was terminated; no additional charges or defendants.

Corrects errors; no additional charges or defendants.

involves, for plea purposes, different charges or adds counts.

Embraces same subject matter but adds the additional defendants or charges below:

HOoOdo

Defendant name Charges

June 28 9007 Ftv. l, 24y——— 7

Date BRUCE C. JUDGE
Assistant United States Attorney
211 W. Fort St., Ste. 2001
Detroit, Ml 48226
(313) 226-9122

Bar ID: 148805 (CA)

 

 

' Companion cases are matters In which it appears that substantlally similar evidence will be offered at trial or the same of related parties ara present, and the cages arise out of the same
transaction of occurrence. Cases may be campanion cases even (hough one of them may have already been terminated.
5/1/99
